Case 3:22-cv-00205-MMH-PDB Document 1 Filed 02/22/22 Page 1 of 47 PageID 1




                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                               JACKSONVILLE DIVISION
                                             CASE NO:
Madison Sparks, on behalf of herself
and all others similarly situated,

       Plaintiff(s),
       v.
Kyodai Sushi Rock Café, Inc.,
Tae N. Oh, individually, and
Kyung Eun Oh, individually,
       Defendants.
                                       /

             COLLECTIVE/CLASS ACTION COMPLAINT FOR DAMAGES
                       AND DEMAND FOR JURY TRIAL

       Plaintiff, MADISON SPARKS (“Plaintiff”) on behalf of herself and all others similarly

situated, and pursuant to 29 U.S.C. § 216(b), Fed. R. Civ. P. 23, Fla. Stat. 448.440, and Art. X,

Sec. 24 of the Florida Constitution, files this Collective/Class Action Complaint for Damages and

Demand for Jury Trial against Defendants, KYODAI SUSHI ROCK CAFÉ, INC. (“Sushi Rock”)

TAE N. OH (“TAE”) and KYUNG EUN OH (“KYUNG”) (collectively referred to as

“Defendants”), for failure to pay restaurant servers state and federal minimum wages and overtime

wages during the relevant time period, as follows:

                                           INTRODUCTION

       1.      Plaintiff brings this collective and class action under the Fair Labor Standards Act

(“FLSA”) and Florida Minimum Wage Act (“FMWA”) on behalf of herself and all restaurant

servers who work or have worked at the Kyodai Sushi restaurant in Orange Park, Florida during

the applicable statute of limitations. Defendants committed state and federal minimum wage

violations because they required restaurant servers to share a portion of their tips with employees

who do not traditionally receive tips, including but not limited to chefs, supervisors, managers,
Case 3:22-cv-00205-MMH-PDB Document 1 Filed 02/22/22 Page 2 of 47 PageID 2




owners and dishwashers. Defendants also violated the minimum wage requirements under Florida

and federal law because they compensate restaurant servers at the reduced “tip credit” wage

notwithstanding that servers are required to spend more than 20% of their shifts performing non-

tipped duties and responsibilities. Defendants have also failed to properly compensate Plaintiff

and similarly situated servers in accordance with the federal overtime laws when servers work in

excess of 40 hours per week. As a result, Plaintiff, and similarly situated restaurant servers have

been denied applicable wages in one or more workweeks during the relevant time period.

                                            PARTIES

       2.      During all times material hereto, Plaintiff was a resident of Orange Park, Florida,

over the age of 18 years, and otherwise sui juris.

       3.      Plaintiff and the FLSA putative collective members are/were restaurant servers

who worked for Defendants within the last three (3) years in Orange Park, Florida.

       4.      Plaintiff and the FMWA putative class members are/were restaurant servers who

worked for Defendants within the last five (5) years in Orange Park, Florida.

       5.      Plaintiff worked for Defendants as a restaurant server from in or around November

2021 until on or about January 15, 2022.

       6.      The proposed collective and class members worked for Defendants in the same

capacity as Plaintiff in that they were restaurant servers for Defendants at their Japanese Hibachi

Restaurant, which is known as “Kyodai Hibachi Grill” and “Kyodai Sushi Rock” and is located in

Orange Park, Florida.

       7.      Plaintiff seeks certification of five (5) separate collectives under 29 U.S.C. § 216(b)

for violations of the FLSA as follows:




                                                 2
Case 3:22-cv-00205-MMH-PDB Document 1 Filed 02/22/22 Page 3 of 47 PageID 3




              Tip Credit Collective: All restaurant servers who worked for
              Defendants in Orange Park, Florida during the three (3) years
              preceding this lawsuit who were required to share a portion of
              their tips with supervisors, owners, managers, chefs or
              dishwashers.

              80/20 Lunch Shift Collective: All restaurant servers who worked
              for Defendants in Orange Park, Florida during the three (3)
              years preceding this lawsuit who in one or more workweeks
              were required to spend more than 20% of their lunch shift
              performing “non-tipped” side work and did not receive the full
              applicable minimum wage for this work.

              80/20 Dinner Shift Collective: All restaurant servers who
              worked for Defendants in Orange Park, Florida during the
              three (3) years preceding this lawsuit who in one or more
              workweeks were required to spend more than 20% of their
              dinner shift performing “non-tipped” side work and did not
              receive the full applicable minimum wage for this work.

              Unpaid Labor Collective: All restaurant servers who worked for
              Defendants in Orange Park, Florida during the three (3) years
              preceding this lawsuit who in one or more workweeks were
              required to work without compensation for between 30-minutes
              and 1-hour during any shift.

              Overtime Collective: All restaurant servers who worked for
              Defendants in Orange Park, Florida during the three (3) years
              preceding this lawsuit who worked more than forty (40) hours
              in any workweek and were not compensated overtime wages.

       8.     Plaintiff also seeks certification of four (4) separate classes under Fed. R. Civ. P.

23 and the FMWA and Florida Constitution for violations of the Florida Minimum Wage Act, as

follows:

              Tip Credit Class: All restaurant servers who worked for
              Defendants in Orange Park, Florida during the five (3) years
              preceding this lawsuit who were required to share a portion of
              their tips with supervisors, owners, managers, chefs, dishwasher
              or bus boys.




                                                3
Case 3:22-cv-00205-MMH-PDB Document 1 Filed 02/22/22 Page 4 of 47 PageID 4




               80/20 Lunch Shift Class: All restaurant servers who worked for
               Defendants in Orange Park, Florida during the five (5) years
               preceding this lawsuit who in one or more workweeks were
               required to spend more than 20% of their lunch shift
               performing “non-tipped” side work and did not receive the full
               applicable minimum wage for this work.

               80/20 Dinner Shift Class: All restaurant servers who worked for
               Defendants in Orange Park, Florida during the five (5) years
               preceding this lawsuit who in one or more workweeks were
               required to spend more than 20% of their dinner shift
               performing “non-tipped” side work and did not receive the full
               applicable minimum wage for this work.

               Unpaid Labor Class: All restaurant servers who worked for
               Defendants in Orange Park, Florida during the five (5) years
               preceding this lawsuit who in one or more workweeks were
               required to work without compensation for between 30-minutes
               and 1-hour during any shift.

       9.      The precise size and identity of each collective and class should be ascertainable

from the business records, tax records, and/or employee or personnel records of Defendants;

however, Plaintiff estimates that the total number of class members in each class above exceeds

50 restaurant servers.

       10.     During all times material hereto, Defendant, SUSHI ROCK, was a Florida For-

Profit Corporation operating and transacting business within Clay County, Florida, within the

jurisdiction of this Honorable Court.

       11.     Defendant, TAE, is a resident of Clay County, Florida, and is subject to the

jurisdiction of this Honorable Court.

       12.     Defendant, KYUNG, is a resident of Clay County, Florida, and is subject to the

jurisdiction of this Honorable Court.

       13.     Defendants own, operate and control the Kyodai Sushi Rock Hibachi Restaurant

and Grill located at 210 Orange Park Northway, Orange Park, FL 32073.




                                               4
Case 3:22-cv-00205-MMH-PDB Document 1 Filed 02/22/22 Page 5 of 47 PageID 5




       14.     Defendants were Plaintiff’s “employer,” as defined by the FLSA and FMWA,

during all times pertinent to the allegations herein.

       15.     During all times material hereto, Defendants were vested with the ultimate control

and decision-making authority over the hiring, firing, scheduling, day-to-day operations, and pay

practices of the Kyodai Sushi Rock Hibachi Restaurant and Grill located at 210 Orange Park

Northway, Orange Park, FL 32073.

       16.     Defendants implement uniform pay, tip, and time keeping practices at the Kyodai

Sushi Rock Hibachi Restaurant and Grill as they apply to all restaurant servers.

       17.     Plaintiff and putative collective and class members are/were non-exempt, hourly

restaurant servers.

                                 JURISDICTION AND VENUE

       18.      This action is brought under 29 U.S.C. § 216(b), Fed. R. Civ. P. 23, the Florida

Minimum Wage Act (“FMWA”) and Article X Section 24 of the Florida Constitution to recover

damages from Defendants, injunctive relief, and reasonable attorney’s fees and costs.

       19.     This Honorable Court has supplemental jurisdiction over Plaintiff’s state law

claims under 28 U.S.C. § 1367

       20.     The acts and/or omissions giving rise to this dispute took place within Clay County,

Florida, which falls within the jurisdiction of this Honorable Court.

       21.     Defendants regularly transact business in Clay County, Florida, and jurisdiction is

therefore proper.

       22.     Venue is also proper within Clay County, Florida.

       23.     Plaintiff fulfilled all conditions precedent required to bring her class action claims

under the FMWA.




                                                  5
Case 3:22-cv-00205-MMH-PDB Document 1 Filed 02/22/22 Page 6 of 47 PageID 6




       24.     More specifically, on January 28, 2022, through her counsel, Plaintiff served

Defendants with a written pre-suit demand and notice regarding her FMWA claims, requesting

that Defendants pay her and the putative FMWA classes the minimum wages owed to them.

Defendants refused to pay Plaintiff or the FMWA classes any wages whatsoever within the

statutory notice period. This lawsuit followed.



                                       FLSA COVERAGE

       25.     Defendant, KYODAI, is an enterprise covered by the FLSA by virtue of the fact

that it is an enterprise engaged in commerce or in the production of goods for commerce, in that

Defendants had at least two employees engaged in commerce or in the production of goods for

commerce, or employees handling, selling, or otherwise working on goods or materials that have

been moved in or produced for commerce by any person.

       26.     During all time periods pertinent hereto, Defendant, KYODAI’s             employees

regularly handled goods such as food, beverages, napkins, silverware, appliances, rice, beer,

vodka, meat, chicken, pork, cheese, broccoli, carrots, peas, oil, soy sauce, zucchini, wings,

calamari, octopus, mahi mahi, salmon, onions, peppers, skewers, teriyaki glaze, crab, vinegar

sauce, tofu, soy beans, shrimp, beef, steak, noodles, eel, scallops, lobster, other food items,

restaurant equipment, chairs, tables, vacuum cleaners, pens, paper, receipts, computers, credit card

processors, staples, toothpicks, mints, flour, sugar, coffee, tea, soda, water bottles, and other

materials that had previously travelled through interstate commerce.

       27.     Defendant, KYODAI, had an annual gross revenue in excess of $500,000.00 in

2017, 2018, 2019, 2020, 2021 and is expected to gross in excess of $500,000.00 in 2022.

                                 GENERAL ALLEGATIONS




                                                  6
Case 3:22-cv-00205-MMH-PDB Document 1 Filed 02/22/22 Page 7 of 47 PageID 7




          28.     During all times material hereto, Defendants, TAE and KYUNG were the owners,

operators, and corporate officers of Kyodai Sushi Rock Hibachi Restaurant and Grill.

          29.     Plaintiff worked for Defendants as a restaurant server during her employment

period.

          30.     During Plaintiff’s employment period, Defendants did not require Plaintiff or any

other employees to use a time-keeping system to track their working hours.

          31.     Upon information and belief, Defendants selected a random and arbitrary amount

to pay Plaintiff and the putative collective and class members at the end of each pay period

(because Defendants’ did not keep and maintain accurate time records for servers).

                DEFENDANTS REQUIRE PLAINTIFF AND SIMILARLY SITUATED
                  SERVERS TO SHARE TIPS WITH NON-TIPPED EMPLOYEES

          32.     During training, Defendants instructed Plaintiff that she was required to share her

tips with supervisors, managers, owners, chefs and/or dishwashers at the restaurant.

          33.     At the end of each shift, Defendants took Plaintiff’s tips and distributed them as

follows: 50% to chefs, 5% to dishwashers and bus boys, and the remaining 45% to Plaintiff.

          34.     After this unequitable and unlawful distribution of tips, Defendants occasionally

required Plaintiff to also share her tips with a supervisor.

          35.     In addition, when Plaintiff (or any other server) was late to work, Defendants

penalized Plaintiff and the members of the collectives and classes by deducting tips from the

servers in an equal amount to the number of minutes they were late to work – for example, if

Plaintiff was 15-minutes late to work, Defendants pilfered $15 of her hard-earned tips.

          36.     Chefs, dishwashers, supervisors, managers and owners are not traditionally tipped

restaurant employees under the FLSA and FMWA and are forbidden from participating in tip

pools.



                                                   7
Case 3:22-cv-00205-MMH-PDB Document 1 Filed 02/22/22 Page 8 of 47 PageID 8




    DEFENDANTS REQUIRE PLAINTIFF AND SIMILARLY SITUATED SERVERS TO
     SPEND MORE THAN 20% OF EACH LUNCH SHIFT ON NON-TIPPED DUTIES

        37.     Federal law prohibits employers from taking a tip credit when an employee

performs non-tip generating duties for more than 20% of their shift. Rafferty v. Denny’s Inc., 13

F4th 1166, 1188 (11th Cir. 2021). In other words, when restaurant servers spend more than 20%

of any respective shift performing non-tip generating duties, they must be paid the full minimum

wage, as opposed to the reduced minimum wage. 1 Id.

        38.     Defendants claimed a tip credit for all of Plaintiff’s work, including during shifts

in which Plaintiff spent more than 20% of her time on non-tip producing duties and side work.

        39.     In the year 2017, servers were compensated at a reduced wage of $5.08 per hour

for their first forty (40) hours of work per week. In 2018, servers were compensated at the reduced

wage of $5.23 per hour for their first forty (40) hours of work per week. Defendants paid servers

the reduced cash wage of $5.44 per hour in 2019, $5.54 per hour in 2020, $5.63 per hour in from

January 1, 2021 through September 29, 2021 and $6.98 per hour from September 30, 2021 through

the present.

        40.     During her employment period with the Defendants, Plaintiff and members of the

putative collectives and classes of servers were assigned both “lunch” shifts and “dinner” shifts.

        41.     The typical lunch shift schedule is from about 10:30 am until about 2:30 pm.

Kyodai Sushi Rock Hibachi Restaurant and Grill opens to the public at 11:00 am and temporarily

closes to the public at 2:00 pm – the restaurant reopens to the public at around 4:00 pm for the

dinner shift.




1The maximum tip credit permissible under federal law is $2.13 cents. However, as stated above,
an employer cannot claim a tip credit if its employee spends more than 20% of any respective shift
performing non-tip producing duties.

                                                 8
Case 3:22-cv-00205-MMH-PDB Document 1 Filed 02/22/22 Page 9 of 47 PageID 9




       42.     Prior to opening the restaurant, from 10:30 am to 11:00 am – a period of

approximately thirty (30) minutes – Defendants instructed Plaintiff and all other similarly situated

restaurant servers to prepare soup, make salads, make sauces, clean bathrooms, scrub and wash

trays and pans, slice lemons, fill salt and pepper shakers, roll silverware, set tables, clean the

beverage stations, set chairs, clean windows, clean tables, clean condiments, vacuum and mop the

floors, clean the outside of the restaurants, unstack chairs, make coffee, and perform additional

“non-tipped” duties which are merely incidental to the employees’ primary duties in the restaurant.

Furthermore, prior to opening to the public, Plaintiff and the other servers were paid the reduced

tip credit wage, even though the restaurant was closed and its employees could not earn any tips.

       43.     Before completing each “lunch” shift, Plaintiff and the putative class members were

required to perform the same “non-tipped” duties and responsibilities as outlined in the preceding

paragraph. At a minimum, when combining the pre-shift and post-shift duties, Plaintiff spent at

least one (1) full hour performing non-tipped duties and responsibilities. Accordingly, Plaintiff

and the class of similarly situated servers spent approximately 25% of the lunch shift performing

non-tip producing duties but were nevertheless paid the reduced wage for tipped employees.

       44.     In addition, Defendants to not pay Plaintiff and other servers for at least thirty (30)

minutes of work performed during each lunch shift.

       45.     As a result, Plaintiff and members of the putative collectives and classes are entitled

to recover the applicable tip credit for the time they spent performing “non-tipped” incidental

duties during each lunch shift, as opposed to the reduced wage they received when performing

these non-tipped duties and side work.

       46.     Plaintiff and the federal minimum wage collective members are entitled to recover

at least federal minimum wage for each hour spent performing “non-tipped” incidental work




                                                 9
Case 3:22-cv-00205-MMH-PDB Document 1 Filed 02/22/22 Page 10 of 47 PageID 10




during lunch shifts in which the “non-tipped” work exceeded 20% of the total time worked during

that shift.

        47.     Similarly, Plaintiff and the Florida minimum wage class members are entitled to

recover at least the Florida minimum wage for each hour spent performing “non-tipped” incidental

work during lunch shifts in which the “non-tipped” work exceeded 20% of the total time worked

during that shift.

        48.     Defendants did not maintain time records during the previous five (5) years.

  DEFEENDANTS REQUIRE PLAINTIFF AND SIMILARLY SITUATED SERVERS TO
 SPEND MORE THAN 20% OF DINNER SHIFTS PERFOMRING NON-TIPPED DUTIES

        49.     When working the evening “dinner” shift, Plaintiff and all other similarly situated

servers report to work at around 3:00 p.m. and are scheduled to work through around 11:00 p.m.

During the entire dinner shift, Plaintiff and all other servers are paid a reduced wage for tipped

employees (even though there are no customers for at least 2-hours of each dinner shift).

        50.     However, before and after each “dinner” shift, Plaintiff and the putative class

members are instructed to prepare soup, make salads, make sauces, clean bathrooms, scrub and

wash trays and pans, slice lemons, fill salt and pepper shakers, roll silverware, take out the trash,

set tables, clean the beverage stations, set chairs, clean windows, clean tables, clean condiments,

vacuum and mop the floors, clean the outside of the restaurants, stack and unstack chairs, make

coffee, and perform additional “non-tipped” duties which are merely incidental to the employees’

primary duties in the restaurant.

        51.     In addition, Defendants do not pay Plaintiff and other servers for at least thirty (30)

minutes of work performed during each dinner shift.




                                                  10
Case 3:22-cv-00205-MMH-PDB Document 1 Filed 02/22/22 Page 11 of 47 PageID 11




        52.    During a typical “dinner” shift, Plaintiff and putative class members are regularly

required to spend a total of more than 20% of the shift performing the aforementioned “non-

tipped” duties and responsibilities.

        53.    In the year 2017, servers were compensated at a reduced wage of $5.08 per hour

for their first forty (40) hours of work per week. In 2018, servers were compensated at the reduced

wage of $5.23 per hour for their first forty (40) hours of work per week. Defendants paid servers

the reduced cash wage of $5.44 per hour in 2019, $5.54 per hour in 2020, $5.63 per hour in from

January 1, 2021, through September 29, 2021 and $6.98 per hour from September 30, 2021 through

the present.

        54.    As a result, Plaintiff and members of the putative collectives and classes are entitled

to recover the applicable tip credit for the time spent each shift performing “non-tipped” incidental

duties, as opposed to the reduced wage they received.

        55.    Plaintiff and the federal minimum wage collective members are entitled to recover

at least federal minimum wage for each hour spent performing “non-tipped” incidental work

during dinner shifts in which the “non-tipped” work exceeded 20% of the total time worked during

that shift.

        56.    Plaintiff and the Florida minimum wage class members are entitled to recover at

least the Florida minimum wage for each hour spent performing “non-tipped” incidental work

during dinner shifts in which the “non-tipped” work exceeded 20% of the total time worked during

that shift.




                                                 11
Case 3:22-cv-00205-MMH-PDB Document 1 Filed 02/22/22 Page 12 of 47 PageID 12




                                     CLASS ALLEGATIONS

        57.       Plaintiff and the putative class members were all subject to the same tip

disgorgement policy, which permitted supervisors, managers, owners, chefs, and dishwashers to

pilfer restaurant servers’ hard-earned tips during the course of the previous five (5) years.

        58.       Class members are treated equally and similarly in the Orange Park, FL restaurant

that is owned and operated by Defendants, in that they were denied federal minimum wages when

they spent more than 20% of their lunch shifts and dinner shifts performing “non-tipped” work.

        59.       Defendants employed at least fifty (50) servers in Orange Park, FL who were

required to work without pay for at 30-minutes to 1-hour per shift during the course of the previous

five (5) years.

        60.       At all times material hereto, Defendants had express or constructive knowledge of

the work performed by Plaintiff and other similarly situated employees.

        61.       Moreover, at all times material hereto, Defendants had express or constructive

knowledge of the time Plaintiff and other similarly situated employees worked but failed to keep

and maintain accurate time records, thereby violating state and federal law.

        62.       Plaintiff and the class members performed the same job duties for Defendants in

Orange Park, Florida as restaurant servers, and were required to work without pay, and were

otherwise paid in an identical manner by Defendants based on Defendants’ failure to compensate

Plaintiff and the class members properly when more than 20% of their shifts consisted of “non-

tipped” duties and side work.

        63.       During their employment, Plaintiff or one or more of the class members complained

about the illegal practices above and Defendants took no action to stop the illegal practices.




                                                 12
Case 3:22-cv-00205-MMH-PDB Document 1 Filed 02/22/22 Page 13 of 47 PageID 13




        64.     Although Defendants were aware of the requirements of the FLSA and FMWA,

and the pertinent regulations thereto, Defendants’ willfully and/or intentionally failed to pay

Plaintiff and the class members in accordance with the state and federal law.

        65.     As a result of Defendants’ intentional and willful failure to comply with the FLSA

and FMWA, Plaintiff was required to retain the undersigned counsel and is therefore entitled to

recover reasonable attorney’s fees and costs incurred in the prosecution of her claims.

                           COUNT I – FED. R. CIV. P. 23 CLASS ACTION
                          FOR FLORIDA MINIMUM WAGE VIOLATIONS
                                (UNLAWFUL TIP RETENTION)

        66.     Plaintiff hereby re-alleges and re-avers Paragraphs 1 through 66 as though set forth

fully herein.

        67.     Plaintiff has fulfilled all conditions precedent required to bring this action under the

Florida Minimum Wage Act and Florida Constitution.

        68.     Plaintiff and other similarly situated servers customarily received tips as part of

their compensation.

        69.     The Florida tip credit requirements are modeled after the FLSA.

        70.     Under the FLSA, pursuant to 29 U.S.C. 203(m)(2)(B), “an employer may not keep

tips received by its employees for any purposes, including allowing managers or supervisors to

keep any portion of employees’ tips, regardless of whether or not the employer takes a tip credit.”2




2 On March 23, 2018, Congress passed the Consolidated Appropriations Act of 2018 (CAA), which

amended Section 230(m) to add the following language: “An employer may not keep tips received
by its employees for any purposes, including allowing managers or supervisors to keep any portion
of employees’ tips, regardless of whether or not the employer takes a tip credit.” The CAA also
amended another FLSA provision – Section 216(b) – to state that “[a]ny employer who violates
section 203(m)(B) of this title shall be liable to the employee or employees affected in the amount
of the sum of any tip credit taken by the employer and all such tips unlawfully kept by the
employer, and in additional equal amount as liquidated damages.” 29 U.S.C. § 216(b).

                                                  13
Case 3:22-cv-00205-MMH-PDB Document 1 Filed 02/22/22 Page 14 of 47 PageID 14




       71.     During the relevant time period, Defendants enforced a restaurant-wide policy that

required Plaintiff and similarly situated restaurant servers to allow supervisors, managers, owners,

chefs and dishwashers to keep a portion of the tips restaurant servers earned.

       72.     Defendants also pilfer tips from restaurant servers when they are late to work. On

information and belief, this money is taken and retained by supervisors, managers and/or owners.

More specifically, if Plaintiff or any other restaurant server was 15-minutes late to work, for

example, Defendants pilfered $15 of hard-earned tips.

       73.     Defendants have enforced this policy for the previous five (5) years.

       74.     Plaintiff and similarly situated Restaurant Servers (hereinafter the “Tip Credit

Class”) are entitled to recover the tip credit for the previous five (5) years and the sum of all tips

that they were required to surrender to supervisors, managers, owners and chefs from March 23,

2018 through the present.

       75.     Defendants therefore forfeit any tip credit under Florida law and owe each Server

at least $3.02 for each hour of work they performed within the past 5 years in time periods in

which Defendants failed to comply with the reduced wage requirements.

       76.     In 2017, the Florida Minimum Wage was $8.10 per hour.

       77.     In 2018, the Florida Minimum Wage was $8.25 per hour.

       78.     In 2019, the Florida Minimum Wage was $8.46 per hour.

       79.     In 2020, the Florida Minimum Wage was $8.56 per hour.

       80.     From January 1, 2021, through September 29, 2021, the Florida Minimum Wage

was $8.65 per hour.

       81.     From September 30, 2021, through the present the Florida Minimum Wage has

$10.00 per hour.




                                                 14
Case 3:22-cv-00205-MMH-PDB Document 1 Filed 02/22/22 Page 15 of 47 PageID 15




         82.   Plaintiff and the proposed Tip Credit Class members were subject to similar

violations of the FMWA and Florida Constitution. Plaintiff seeks class certification under Fed. R.

Civ. P. 23 of the following class for Defendants’ failure to pay Florida’s mandated minimum

wages:

               All restaurant servers who worked for Defendants in Orange
               Park, Florida during the five (5) years preceding this lawsuit
               who were required to share a portion of their tips with
               supervisors, owners, managers, chefs, dishwasher or bus boys.

                                    RULE 23 CLASS ALLEGATIONS

         83.   Plaintiff brings this FMWA claim as a class action pursuant to Rule 23 of the

Federal Rules of Civil Procedure on behalf of the above class (the “Tip Credit Class”).

         84.   The putative Tip Credit Class members are treated equally and similarly by

Defendants, in that they were denied full and proper Florida minimum wage based upon the

Defendants’ companywide policy of permitting supervisors, managers, owners, chefs and

dishwashers to pilfer tips, thereby invalidating Defendants’ ability to claim a tip credit.

         85.   Numerosity: Defendants employed in excess of 50 Servers in the class during the

past five (5) years who were paid the applicable reduced wage when Defendants permitted

supervisors, managers, owners, chefs and dishwashers to pilfer tips. Given Defendants’

considerable size and the systematic nature of its failure to comply with Florida law, the members

of the Class are so numerous that joinder of all members is impractical.

         86.   Plaintiff and the class members were subject to the same policies.

         87.   Commonality: Common questions of law and fact exist as to all members of the

Class and predominate over any questions solely affecting any individual member of the Class,

including Plaintiff. Such questions common to the Class include, but are not limited to the

following:



                                                 15
Case 3:22-cv-00205-MMH-PDB Document 1 Filed 02/22/22 Page 16 of 47 PageID 16




       (a)       Whether Plaintiff and the Tip Credit Class were “employees” of Defendants;

       (b)       Whether Plaintiff and the Tip Credit Class’s hours were properly recorded;

       (c)       Whether Defendants violated the Florida minimum wage rights of Plaintiff and the

Tip Credit Class under the FMWA by permitting supervisors, managers, chefs, owners and

dishwashers to receive a portion of servers’ tips;

       (d)       Whether Defendants willfully or intentionally refused to pay Plaintiff and the Tip

Credit Class the Florida minimum wages as required under Florida law;

       (e)       Whether Defendants knew or should have known of the Florida minimum wage

requirements and either intentionally avoided or recklessly failed to investigate proper payroll

practices; and

       (f)       The nature, extent, and measure of damages suffered by the Plaintiff and the Tip

Credit Class based upon Defendants’ conduct.

       88.       Typicality: Plaintiff’s claims are typical of the Tip Credit Class members’ claims.

Plaintiff’s claims arise from the Defendants’ company-wide policy of requiring all restaurant

servers to surrender a portion of their tips to supervisors, managers, owners, chefs and dishwashers

which resulted in them not receiving the applicable Florida minimum wage.

       89.       Adequacy: Plaintiff will fairly and adequately protect the interests of the Tip Credit

Class. Plaintiff has no interest that might conflict with the interests of the Tip Credit Class.

Plaintiff is interested in pursuing her claims against Defendants vigorously and has retained

counsel competent and experienced in class and employment litigation.

       90.       Class action treatment is superior to the alternatives for the fair and efficient

adjudication of the controversy alleged herein. Such treatment will permit a large number of

similarly situated persons to prosecute their common claims in a single forum simultaneously,




                                                  16
Case 3:22-cv-00205-MMH-PDB Document 1 Filed 02/22/22 Page 17 of 47 PageID 17




efficiently, and without the duplication of effort and expense that numerous individual actions

would entail. No difficulties are likely to be encountered in the management of this class action

that would preclude its maintenance as a class action, and no superior alternative exists for the fair

and efficient adjudication of this controversy.

       91.     Defendants have acted on grounds generally applicable to the Tip Credit Class,

thereby making relief appropriate with respect to the Tip Credit Class as a whole. Prosecution of

separate actions by individual members of the Tip Credit Class would create the risk of inconsistent

or varying adjudications with respect to the individual members of the Tip Credit Class that would

establish incompatible standards of conduct for Defendants.

       92.     Without a class action, Defendants will likely continue to retain the benefit of their

wrongdoing and will continue a course of conduct that will result in further damages to Plaintiff

and the Tip Credit Class.

       93.     Plaintiff and the Tip Credit Class members performed the same job duties, as

restaurant servers, and were paid in an identical manner by Defendants.

       94.     Plaintiff and the Tip Credit Class members were not paid proper Florida minimum

wage for certain hours worked because they were all subject to the same tip sharing policy, which

permitted and encouraged supervisors, managers, owners, chefs and dishwashers to retain servers’

hard-earned tips.

       95.     Defendants were aware of the requirements of the FMWA, and the pertinent

regulations thereto, yet acted willfully in failing to pay Plaintiff and the Tip Credit Class members

in accordance with the law.




                                                  17
Case 3:22-cv-00205-MMH-PDB Document 1 Filed 02/22/22 Page 18 of 47 PageID 18




        96.    The precise size and identity of the class should be ascertainable from the business

records, tax records, and/or employee or personnel records of Defendants; however, Plaintiff

estimates that the total number of putative Tip Credit Class members exceeds 50 Servers.

        97.    This action is intended to include each and every server who worked at Kyodai

Sushi Rock Hibachi Restaurant and Grill located in Orange Park, Florida, during the past five (5)

years who was subject to Defendants’ unlawful tip policies.

        98.    During all material times hereto, Plaintiff and all Tip Credit Class members were

non-exempt employees of Defendants.

        99.    Plaintiff and the Tip Credit Class members performed work as servers which was

an integral part of the business for Defendants.

        100.   Defendants violated the terms of the FMWA and Florida Constitution’s provision

on minimum wages permitting Supervisors, Managers, Owners, Chefs and Dishwashers and to

retain tips from Plaintiff and all other restaurant servers during the relevant time period.

        101.   The additional persons who may become Plaintiffs in this action are employees

with positions similarly situated to Plaintiff and who suffered from the Defendants’ unlawful tip

policy within the previous five (5) years.

        102.   Plaintiff has complied with pre-suit notice, and all other conditions precedent to

this action have been performed, or waived, by sending Defendants a pre-suit Florida Minimum

Wage demand letter as required by Florida law before this claim was filed.

        103.   More than fifteen (15) calendar days have passed since Defendants received the

Florida Minimum Wage demand letter and Defendants have failed to tender full payment to

compensate Plaintiff and the Tip Credit Class members for the Florida minimum wages they are

owed.




                                                   18
Case 3:22-cv-00205-MMH-PDB Document 1 Filed 02/22/22 Page 19 of 47 PageID 19




       104.    The damages suffered by individual members of the class may be relatively small

when compared to the expense and burden of litigation, making it virtually impossible for members

of the class to individually seek redress for the wrongs done to them.

       105.    Absent class-wide redress of these claims, many members of the class likely will

not obtain redress of their damages and Defendants will retain the proceeds of their violations of

the FMWA and Florida Constitution.

       106.    Furthermore, even if every member of the class could afford individual litigation

against Defendants, it would be unduly burdensome to the judicial system. Concentrating the

litigation in one forum will promote judicial economy, efficiency, and parity among the claims of

individual members of the class and provide for judicial consistency.

       107.    The relief sought is common to the entire class including, inter alia:

       (a)     The difference between the reduced Florida Minimum Wage and the Full

       Florida Minimum Wage for all servers during the previous five (5) years who were

       required to share their tips with supervisors, owners, managers, chefs and/or

       dishwashers;

       (b)     Payment by the Defendants of tips unlawfully retained from March 23,

       2018, through the present;

       (c)     Payment by the Defendants of liquidated damages caused by their failure to

       pay minimum wages pursuant to the Florida Constitution and/or F.S. § 448.110 as

       a result of Defendants’ intentional and/or willful violations;

       (c)     Payment by the Defendants of the costs and expenses of this action,

       including reasonable attorney’s fees of Plaintiff’s counsel.




                                                19
Case 3:22-cv-00205-MMH-PDB Document 1 Filed 02/22/22 Page 20 of 47 PageID 20




        108.    Plaintiff and the Tip Credit Class members have sustained damages arising out of

the same wrongful and company-wide employment policies of Defendants in violation of the

FMWA and Florida Constitution.

        109.    As a result of the violations alleged herein, Plaintiff was required to retain the

undersigned counsel and is therefore entitled to recover reasonable attorney’s fees and costs.

        WHEREFORE, Plaintiff, MADISON SPARKS, respectfully requests that this Honorable

Court enter judgment in her favor and against Defendants, KYODAI SUSHI ROCK CAFÉ, INC.

TAE N. OH and KYUNG EUN OH, and award Plaintiff, and the putative class: (a) recovery of

the tip credit owed Plaintiff and the Tip Credit Class for the previous five (5) years; (b) recovery

of all tips unlawfully retained from March 23, 2018, through the present; (c) liquidated damages;

(d) all reasonable attorney’s fees and costs as permitted under Florida law, and any and all such

further relief as this Court may deem just and reasonable under the circumstances.

          COUNT II – UNLAWFUL TAKING OF TIPS – 29 U.S.C. § 216(b) / 29 U.S.C. § 203
                            (UNLAWFUL TIP RETENTION)

        110.    Plaintiff hereby re-alleges and re-avers Paragraphs 1 through 66 as though set forth

fully herein.

        111.    Plaintiff and all other similarly situated individuals customarily received tips as part

of their compensation during their employment with Defendants.

        112.    Pursuant to 29 U.S.C. 203(m)(2)(B), “an employer may not keep tips received by

its employees for any purposes, including allowing managers or supervisors to keep any portion

of employees’ tips, regardless of whether or not the employer takes a tip credit.” 3


3 On March 23, 2018, Congress passed the Consolidated Appropriations Act of 2018 (CAA), which

amended Section 230(m) to add the following language: “An employer may not keep tips received
by its employees for any purposes, including allowing managers or supervisors to keep any portion
of employees’ tips, regardless of whether or not the employer takes a tip credit.” The CAA also
amended another FLSA provision – Section 216(b) – to state that “[a]ny employer who violates

                                                  20
Case 3:22-cv-00205-MMH-PDB Document 1 Filed 02/22/22 Page 21 of 47 PageID 21




       113.    During the relevant time period, Defendants enforced a restaurant-wide policy that

required Plaintiff and similarly situated restaurant servers to allow supervisors, managers, owners,

chefs, and dishwashers to keep a portion of the tips restaurant servers earned.

       114.    Defendants have enforced this policy for at least the previous three (3) years.

       115.    Plaintiff and similarly situated Restaurant Servers are entitled to recover the tip

credit and the sum of all tips that they were required to share with supervisors from March 23,

2018, through the present.

       116.    Defendants’ failure to comply with the FLSA was willful and/or intentional.

       117.    Defendants knew or should have known of the pertinent FLSA laws, rules and

regulations and willfully ignored them as Defendants kept a portion of servers’ hard-earned tips

during the course of the previous three (3) years.

       WHEREFORE, Plaintiff, MADISON SPARKS, respectfully requests that this Honorable

Court enter judgment in her favor and against Defendants, KYODAI SUSHI ROCK CAFÉ, INC.

TAE N. OH and KYUNG EUN OH, and award Plaintiff, and the putative class: (a) recovery of

the tip credit owed Plaintiff and the Class for the previous three (3) years; (b) recovery of all tips

unlawfully retained from March 23, 2018, through the present; (c) liquidated damages; (d) all

reasonable attorney’s fees and litigation costs as permitted under the FLSA; and any and all such

further relief as this Court may deems just and reasonable under the circumstances.

                          COUNT III – FED. R. CIV. P. 23 CLASS ACTION
                          FOR FLORIDA MINIMUM WAGE VIOLATIONS
                           (80/20 VIOLATIONS DURING LUNCH SHIFTS)

       118.    Plaintiff hereby re-avers Paragraphs 1 through 66 as though set forth fully herein.



section 203(m)(B) of this title shall be liable to the employee or employees affected in the amount
of the sum of any tip credit taken by the employer and all such tips unlawfully kept by the
employer, and in additional equal amount as liquidated damages.” 29 U.S.C. § 216(b).

                                                 21
Case 3:22-cv-00205-MMH-PDB Document 1 Filed 02/22/22 Page 22 of 47 PageID 22




       119.    Plaintiff and all others similarly situated are/were entitled to be paid Florida’s full

minimum wage during their employment with Defendants.

       120.    Plaintiff and the proposed class members were subjected to similar violations of

Florida law as a result of the Defendants’ failure to pay them the full state minimum wage when

they were required to spend more than 20% of their lunch shifts performing non-tipped duties and

side work.

       121.    Plaintiff seeks recovery of the Florida minimum wages under Fed. R. Civ. P. 23

for herself and the following class for Defendants’ failure to pay constitutionally mandated state

minimum wages:

               All restaurant servers who worked for Defendants in Orange
               Park, Florida during the five (5) years preceding this lawsuit
               who in one or more workweeks were required to spend more
               than 20% of their lunch shift performing “non-tipped” duties
               and side work and did not receive the full applicable minimum
               wage for this work.

                               RULE 23 CLASS ALLEGATIONS

       122.    Plaintiff brings her FMWA claim as a class action pursuant to Rule 23 of the

Federal Rules of Civil Procedure on behalf of the above class.

       123.    The putative 80/20 Lunch Shift Class members are treated equally and similarly by

Defendants, in that they were denied full and proper Florida minimum wage based upon the

Defendants requiring Plaintiff and similarly situated servers to spend more than 20% of lunch

shifts performing non-tipped duties and side work.

       124.    Numerosity: Defendants employed more than 50 servers at its restaurant in Orange

Park, Florida during the past five (5) years who were required to spend more than 20% of their

lunch shifts performing non-tipped duties and side work and were not paid pertinent Florida




                                                 22
Case 3:22-cv-00205-MMH-PDB Document 1 Filed 02/22/22 Page 23 of 47 PageID 23




minimum wage. Given Defendants’ size and the systematic nature of its failure to comply with

Florida law, the members of the Class are so numerous that joinder of all members is impractical.

       125.   Plaintiff and the 80/20 Lunch Shift Class members were subject to the same

policies, including Defendants’ requirement that employees spend more than 20% of a lunch shift

performing non-tipped duties and side work.

       126.   Commonality: Common questions of law and fact exist as to all members of the

Class and predominate over any questions solely affecting any individual member of the Class,

including Plaintiff. Such questions common to the Class include, but are not limited to the

following:

              (a) Whether Plaintiff and the 80/20 Lunch Shift Class members were “employees”

                  of Defendants;

              (b) Whether Plaintiff and the 80/20 Lunch Shift Class’s hours were properly

                  recorded;

              (c) Whether Defendants violated the Florida minimum wage rights of Plaintiff and

                  the 80/20 Lunch Shift Class under the FMWA by failing to compensate the

                  putative class full state minimum wage when they spent more than 20% of a

                  lunch shifts performing non-tipped duties and side work;

              (d) Whether Defendants willfully or intentionally refused to pay Plaintiff and the

                  80/20 Lunch Shift Class Florida minimum wages;

              (e) Whether Defendants knew or should have known of the Florida minimum wage

                  requirements and either intentionally avoided or recklessly failed to investigate

                  proper payroll and time keeping practices; and




                                               23
Case 3:22-cv-00205-MMH-PDB Document 1 Filed 02/22/22 Page 24 of 47 PageID 24




               (f) The nature, extent, and measure of damages suffered by the Plaintiff and the

                   80/20 Lunch Shift Class.

       127.    Typicality: Plaintiff’s claims are typical of the claims of the members of the 80/20

Lunch Shift Class. Plaintiff’s claims arise from the Defendants’ company-wide policy of requiring

all servers to spend more than 20% of their lunch shifts on non-tipped duties and side work without

being paid the full applicable Florida minimum wage.

       128.    Adequacy: Plaintiff will fairly and adequately protect the interests of the 80/20

Lunch Shift Class. Plaintiff has no interest that might conflict with the interests of the 80/20 Lunch

Shift Class. Plaintiff is interested in pursuing her claims against Defendants vigorously and has

retained counsel competent and experienced in class and employment litigation.

       129.    Class action treatment is superior to the alternatives for the fair and efficient

adjudication of the controversy alleged herein. Such treatment will permit a large number of

similarly situated persons to prosecute their common claims in a single forum simultaneously,

efficiently, and without the duplication of effort and expense that numerous individual actions

would entail. No difficulties are likely to be encountered in the management of this class action

that would preclude its maintenance as a class action, and no superior alternative exists for the fair

and efficient adjudication of this controversy.

       130.    Defendants acted on grounds generally applicable to the 80/20 Lunch Shift Class,

thereby making relief appropriate with respect to the 80/20 Lunch Shift Class as a whole.

Prosecution of separate actions by individual members of the 80/20 Lunch Shift Class would create

the risk of inconsistent or varying adjudications with respect to the individual members of the

80/20 Lunch Shift Class that would establish incompatible standards of conduct for Defendants.




                                                  24
Case 3:22-cv-00205-MMH-PDB Document 1 Filed 02/22/22 Page 25 of 47 PageID 25




       131.    The identity of the 80/20 Lunch Shift Class is readily identifiable from Defendants’

records.

       132.    Without a class action, Defendants will likely continue to retain the benefit of their

wrongdoing and will continue a course of conduct that will result in further damages to Plaintiff

and the 80/20 Lunch Shift Class.

       133.    Plaintiff and the 80/20 Lunch Shift Class members performed the same job duties,

as restaurant servers, and were paid in an identical manner by Defendants based on Defendants

requiring the restaurant servers to spend more than 20% of their lunch shift performing non-tipped

duties and side work without paying the restaurant servers at least the full applicable Florida

minimum wage.

       134.    Plaintiff and the 80/20 Lunch Shift Class members were not paid proper Florida

minimum wages when their non-tipped duties and side work exceeded 20% of any particular shift.

       135.    Defendants was aware of the requirements of the FMWA, and the pertinent

regulations thereto, yet acted willfully in failing to pay Plaintiff and the 80/20 Lunch Shift Class

members in accordance with the law.

       136.    This action is intended to include each and every restaurant server who worked for

Defendants at its restaurant in Orange Park, Florida during the past five (5) years and was required

to spend more than 20% of his/her lunch shift performing non-tipped duties and side work.

       137.    During all material times hereto, Plaintiff and all 80/20 Lunch Shift Class members

are/were non-exempt employees of Defendants.

       138.    Restaurant servers’ work for Defendants is an integral part of Defendants’ business.




                                                25
Case 3:22-cv-00205-MMH-PDB Document 1 Filed 02/22/22 Page 26 of 47 PageID 26




        139.    Defendants violated the terms of the FMWA and Florida Constitution’s provision

on minimum wages by not paying Plaintiff and the putative class members at least Florida’s

minimum wage for all hours worked.

        140.    In 2017, the Florida minimum wage was $8.10 per hour.

        141.    In 2018, the Florida minimum wage was $8.25.

        142.    In 2019, the Florida minimum wage was $8.46.

        143.    In 2020, the Florida minimum wage was $8.56.

        144.    From January 1, 2021 until September 29, 2021, the Florida minimum wage was

$8.65 per hour.

        145.    Beginning on September 30, 2021, the Florida minimum wage was $10.00 per hour.

        146.    During their employment, Plaintiff or one or more of the 80/20 Lunch Shift Class

members complained about the illegal practices above and Defendants took no action to stop the

illegal practices.

        147.    The additional persons who may become Plaintiffs in this action are employees

with positions similarly situated to Plaintiff and who suffered from the same pay practices of not

being properly paid at least Florida’s minimum wage for each hour worked.

        148.    Plaintiff has complied with pre-suit notice, and all other conditions precedent to

this action have been performed, or waived, by sending Defendants a Florida minimum wage

demand before this claim was filed.

        149.    More than fifteen (15) calendar days have passed since Defendants received the

Florida minimum wage demand letter and no payment has been tendered by Defendants to

compensate Plaintiff and the putative 80/20 Lunch Shift Class for the minimum wages owed.




                                                26
Case 3:22-cv-00205-MMH-PDB Document 1 Filed 02/22/22 Page 27 of 47 PageID 27




       150.    A class action is superior to other available methods for the fair and efficient

adjudication of the controversy. Absent these actions, many members of the class likely will not

obtain redress of their damages and Defendants will retain the proceeds of their violations of the

FMWA and Florida Constitution.

       151.    Furthermore, even if every member of the 80/20 Lunch Shift Class could afford

individual litigation against Defendants, it would be unduly burdensome to the judicial system.

Concentrating the litigation in one forum will promote judicial economy, efficiency, and parity

among the claims of individual members of the class and provide for judicial consistency.

           152.       The relief sought is common to the entire class including, inter alia:

               (a) Payment by the Defendants of actual damages caused by their failure to pay

                   minimum wages pursuant to the Florida Minimum Wage Act and Florida

                   Constitution;

               (b) Payment by the Defendants of liquidated damages caused by their failure to pay

                   minimum wages pursuant to the Florida Minimum Wage Act and Florida

                   Constitution as a result of Defendants’ intentional and/or willful violations;

               (c) Payment by the Defendants of the costs and expenses of this action, including

                   attorney’s fees of Plaintiff’s counsel.

       153.    As a direct and proximate result of Defendants’ deliberate underpayment of wages,

Plaintiff and the 80/20 Lunch Shift Class members have been damaged in the loss of Florida

minimum wages for one or more weeks of work during the employment with Defendants.

       154.    As a result of the violations alleged herein, Plaintiff was required to retain the

undersigned counsel and is therefore entitled to recover reasonable attorney’s fees and costs.




                                                 27
Case 3:22-cv-00205-MMH-PDB Document 1 Filed 02/22/22 Page 28 of 47 PageID 28




         WHEREFORE, Plaintiff, MADISON SPARKS, respectfully requests that this Honorable

Court enter judgment in her favor and against Defendants, KYODAI SUSHI ROCK CAFÉ, INC.

TAE N. OH and KYUNG EUN OH, and award Plaintiff, and all others similarly situated: (a)

unliquidated Florida minimum wages; (b) an equal amount of liquidated damages; (c) all

reasonable attorney’s fees and litigation costs as permitted under the FMWA and Fla. Stat. 448.08;

and any and all such further relief as the Court deems just and reasonable under the circumstances.

     COUNT IV - COLLECTIVE ACTION FOR FEDERAL MINIMUM WAGE VIOLATIONS
                    (80/20 VIOLATIONS DURING LUNCH SHIFTS)

         155.   Plaintiff hereby re-avers Paragraphs 1 through 66 as though set forth fully herein.

         156.   Plaintiff and all others similarly situated are/were entitled to be paid full federal

minimum wage for certain hours worked during their employment with Defendants.

         157.   Plaintiff and the proposed collective members were subjected to similar violations

of federal law as a result of the Defendants’ failure to pay them the full minimum wage when they

were required to spend more than 20% of their shifts performing non-tipped duties and side work.

         158.   Plaintiff seeks recovery of these federal minimum wages under 29 U.S.C. § 216(b)

for herself and the following collective for Defendants’ failure to pay federally mandated minimum

wages:

                All restaurant servers who worked for Defendants in Orange
                Park, Florida during the three (3) years preceding this lawsuit
                who in one or more workweeks were required to spend more
                than 20% of their lunch shift performing “non-tipped” side
                work and did not receive the full applicable minimum wage for
                this work.

         159.   Defendants willfully failed to pay Plaintiff and the putative collective members the

full federal minimum wage for one or more weeks of work.




                                                 28
Case 3:22-cv-00205-MMH-PDB Document 1 Filed 02/22/22 Page 29 of 47 PageID 29




       160.    As a direct and proximate result of Defendants’ deliberate underpayment of wages,

Plaintiff and the collective members have been damaged in the loss of federal minimum wages for

one or more weeks of work during the employment with Defendants.

       161.    Defendants’ willful and/or intentional violations of entitle Plaintiff and the putative

collective members to an additional amount of liquidated, or double, damages.

       162.    As a result of the violations alleged herein, Plaintiff was required to retain the

undersigned counsel and is therefore entitled to recover reasonable attorney’s fees and costs.

       WHEREFORE, Plaintiff, MADISON SPARKS, respectfully requests that this Honorable

Court enter judgment in her favor and against Defendants, KYODAI SUSHI ROCK CAFÉ, INC.

TAE N. OH and KYUNG EUN OH, and award Plaintiff, and all others similarly situated: (a)

unliquidated federal minimum wages; (b) an equal amount of liquidated damages; (c) all

reasonable attorney’s fees and litigation costs as permitted under the FLSA; and any and all such

further relief as the Court deems just and reasonable under the circumstances.

                           COUNT V – FED. R. CIV. P. 23 CLASS ACTION
                          FOR FLORIDA MINIMUM WAGE VIOLATIONS
                          (80/20 VIOLATIONS DURING DINNER SHIFTS)

       163.    Plaintiff hereby re-avers Paragraphs 1 through 66 as though set forth fully herein.

       164.    Plaintiff and all others similarly situated are/were entitled to be paid Florida’s full

minimum wage for certain hours worked during their employment with Defendants.

       165.    Plaintiff and the proposed 80/20 Dinner Shift Class members were subjected to

similar violations of state and federal law as a result of the Defendants’ failure to pay them the full

state minimum wage when they were required to spend more than 20% of their shifts performing

non-tipped duties and side work.




                                                  29
Case 3:22-cv-00205-MMH-PDB Document 1 Filed 02/22/22 Page 30 of 47 PageID 30




       166.    Plaintiff seeks recovery of the Florida minimum wages under Fed. R. Civ. P. 23

for herself and the following 80/20 Dinner Shift Class for Defendants’ failure to pay

constitutionally mandated state minimum wages:

               All restaurant servers who worked for Defendants in Orange
               Park, Florida during the five (5) years preceding this lawsuit
               who in one or more workweeks were required to spend more
               than 20% of their dinner shift performing “non-tipped” side
               work and did not receive the full applicable minimum wage for
               this work.

                               RULE 23 CLASS ALLEGATIONS

       167.    Plaintiff brings her FMWA claim as a class action pursuant to Rule 23 of the

Federal Rules of Civil Procedure on behalf of the above class.

       168.    The putative 80/20 Dinner Shift Class members are treated equally and similarly

by Defendants, in that they were denied full and proper Florida minimum wage based upon the

Defendants requiring Plaintiff and similarly situated servers to spend more than 20% of dinner

shifts performing non-tipped duties and side work.

       169.    Numerosity: Defendants employed more than fifty (50) restaurant servers at their

Orange Park, Florida restaurant during the past five (5) years who were required to spend more

than 20% of their dinner shift performing non-tipped duties and responsibilities and were not paid

Florida minimum wage for the work. Given Defendants’ size and the systematic nature of their

failure to comply with Florida law, the members of the 80/20 Dinner Shift Class are so numerous

that joinder of all members is impractical.

       170.    Plaintiff and the 80/20 Dinner Shift Class members were subject to the same

policies, including Defendants’ requirement that employees spend more than 20% of dinner shifts

performing non-tipped duties and responsibilities.




                                               30
Case 3:22-cv-00205-MMH-PDB Document 1 Filed 02/22/22 Page 31 of 47 PageID 31




       171.    Commonality: Common questions of law and fact exist as to all members of the

80/20 Dinner Shift Class and predominate over any questions solely affecting any individual

member of the 80/20 Dinner Shift Class, including Plaintiff. Such questions common to the 80/20

Dinner Shift Class include, but are not limited to the following:

               (a) Whether Plaintiff and the 80/20 Dinner Shift Class members were “employees”

                   of Defendants;

               (b) Whether Plaintiff and the Class’s hours were properly recorded;

               (c) Whether Defendants violated the Florida minimum wage rights of Plaintiff and

                   the 80/20 Dinner Shift Class under the FMWA by failing to compensate the

                   putative class the full state minimum wage when they spent more than 20% of

                   dinner shifts performing non-tipped duties and side work;

               (d) Whether Defendants willfully or intentionally refused to pay Plaintiff and the

                   80/20 Dinner Shift Class Florida minimum wages;

               (e) Whether Defendants knew or should have known of the Florida minimum wage

                   requirements and either intentionally avoided or recklessly failed to investigate

                   proper payroll and time keeping practices; and

               (f) The nature, extent, and measure of damages suffered by the Plaintiff and the

                   80/20 Dinner Shift Class.

       172.    Typicality: Plaintiff’s claims are typical of the claims of the members of the 80/20

Dinner Shift Class. Plaintiff’s claims arise from the Defendants’ company-wide policy of

requiring all servers to spend more than 20% of their dinner shifts performing non-tipped duties

and responsibilities without being paid the full applicable Florida minimum wage.




                                                31
Case 3:22-cv-00205-MMH-PDB Document 1 Filed 02/22/22 Page 32 of 47 PageID 32




       173.    Adequacy: Plaintiff will fairly and adequately protect the interests of the 80/20

Dinner Shift Class. Plaintiff has no interest that might conflict with the interests of the 80/20

Dinner Shift Class. Plaintiff is interested in pursuing her claims against Defendants vigorously

and has retained counsel competent and experienced in class and employment litigation.

       174.    Class action treatment is superior to the alternatives for the fair and efficient

adjudication of the controversy alleged herein. Such treatment will permit a large number of

similarly situated persons to prosecute their common claims in a single forum simultaneously,

efficiently, and without the duplication of effort and expense that numerous individual actions

would entail. No difficulties are likely to be encountered in the management of this class action

that would preclude its maintenance as a class action, and no superior alternative exists for the fair

and efficient adjudication of this controversy.

       175.    Defendants acted on grounds generally applicable to the 80/20 Dinner Shift Class,

thereby making relief appropriate with respect to the 80/20 Dinner Shift Class as a whole.

Prosecution of separate actions by individual members of the 80/20 Dinner Shift Class would

create the risk of inconsistent or varying adjudications with respect to the individual members of

the 80/20 Dinner Shift Class that would establish incompatible standards of conduct for

Defendants.

       176.    The identity of the 80/20 Dinner Shift Class is readily identifiable from Defendants’

records.

       177.    Without a class action, Defendants will likely continue to retain the benefit of its

wrongdoing and will continue a course of conduct that will result in further damages to Plaintiff

and the 80/20 Dinner Shift Class.




                                                  32
Case 3:22-cv-00205-MMH-PDB Document 1 Filed 02/22/22 Page 33 of 47 PageID 33




       178.    Plaintiff and the 80/20 Dinner Shift Class members performed the same job duties,

as restaurant servers, and were paid in an identical manner by Defendants based on Defendants

requiring the restaurant servers to spend more than 20% of their dinner shift performing non-tipped

duties and responsibilities without paying the restaurant servers at least the full applicable Florida

minimum age.

       179.    Defendants was aware of the requirements of the FMWA, and the pertinent

regulations thereto, yet acted willfully in failing to pay Plaintiff and the 80/20 Dinner Shift Class

members in accordance with the law.

       180.    The precise size and identity of the 80/20 Dinner Shift Class should be ascertainable

from the business records, tax records, and/or employee or personnel records of Defendants;

however, Plaintiff estimates that the total number of putative 80/20 Dinner Shift Class members

exceeds 50 restaurant servers.

       181.    This action is intended to include each and every restaurant server who worked for

Defendants at its restaurant in Orange Park, Florida during the past five (5) years who was required

to spend more than 20% of his/her dinner shift performing non-tipped duties and responsibilities.

       182.    During all material times hereto, Plaintiff and all 80/20 Dinner Shift Class members

were non-exempt employees of Defendants.

       183.    Restaurant servers’ work for Defendants is an integral part of Defendants’ business.

       184.    Defendants violated the terms of the FMWA and Florida Constitution’s provision

on minimum wages by not paying Plaintiff and the putative 80/20 Dinner Shift Class members at

least Florida’s minimum wage for all hours worked.

       185.    In 2017, the Florida minimum wage was $8.10 per hour.

       186.    In 2018, the Florida minimum wage was $8.25.




                                                 33
Case 3:22-cv-00205-MMH-PDB Document 1 Filed 02/22/22 Page 34 of 47 PageID 34




        187.    In 2019, the Florida minimum wage was $8.46.

        188.    In 2020, the Florida minimum wage was $8.56.

        189.    From January 1, 2021 until September 29, 2021, the Florida minimum wage was

$8.65 per hour.

        190.    Beginning on September 30, 2021, the Florida minimum wage was $10.00 per hour.

        191.    During their employment, Plaintiff or one or more of the 80/20 Dinner Shift Class

members complained about the illegal practices above and Defendants took no action to stop the

illegal practices.

        192.    The additional persons who may become Plaintiffs in this action are employees

with positions similarly situated to Plaintiff and who suffered from the same pay practices of not

being properly paid at least Florida’s minimum wage for each hour worked.

        193.    Plaintiff has complied with pre-suit notice, and all other conditions precedent to

this action have been performed, or waived, by sending Defendants a Florida minimum wage

demand before this claim was filed.

        194.    More than fifteen (15) calendar days have passed since Defendants received the

Florida minimum wage demand letter and no payment has been tendered by Defendants to

compensate Plaintiff and the putative 80/20 Dinner Shift Class for the minimum wages owed.

        195.    A class action is superior to other available methods for the fair and efficient

adjudication of the controversy. Absent these actions, many members of the class likely will not

obtain redress of their damages and Defendants will retain the proceeds of their violations of the

FMWA and Florida Constitution.

        196.    Furthermore, even if every member of the class could afford individual litigation

against Defendants, it would be unduly burdensome to the judicial system. Concentrating the




                                                34
Case 3:22-cv-00205-MMH-PDB Document 1 Filed 02/22/22 Page 35 of 47 PageID 35




litigation in one forum will promote judicial economy, efficiency, and parity among the claims of

individual members of the class and provide for judicial consistency.

           197.       The relief sought is common to the entire class including, inter alia:

               (a) Payment by the Defendants of actual damages caused by their failure to pay

                   minimum wages pursuant to the Florida Minimum wage Act and Florida

                   Constitution;

               (b) Payment by the Defendants of liquidated damages caused by their failure to pay

                   minimum wages pursuant to the Florida Minimum wage Act and Florida

                   Constitution and as a result of Defendants’ intentional and/or willful violations;

               (c) Payment by the Defendants of the costs and expenses of this action, including

                   attorney’s fees of Plaintiff’s counsel.

       198.    Defendants willfully failed to pay Plaintiff and the putative 80/20 Dinner Shift

Class members Florida’s full applicable minimum wage for one or more weeks of work.

       199.    As a direct and proximate result of Defendants’ deliberate underpayment of wages,

Plaintiff and the 80/20 Dinner Shift Class members have been damaged in the loss of Florida

minimum wages for one or more weeks of work during the employment with Defendants.

       200.    As a result of the violations alleged herein, Plaintiff was required to retain the

undersigned counsel and is therefore entitled to recover reasonable attorney’s fees and costs.

       WHEREFORE, Plaintiff, MADISON SPARKS, respectfully requests that this Honorable

Court enter judgment in her favor and against Defendants, KYODAI SUSHI ROCK CAFÉ, INC.

TAE N. OH and KYUNG EUN OH, and award Plaintiff, and all others similarly situated: (a)

unliquidated Florida minimum wages; (b) an equal amount of liquidated damages; (c) all




                                                 35
Case 3:22-cv-00205-MMH-PDB Document 1 Filed 02/22/22 Page 36 of 47 PageID 36




reasonable attorney’s fees and litigation costs as permitted under the FMWA and Fla. Stat. 448.08;

and any and all such further relief as the Court deems just and reasonable under the circumstances.

     COUNT VI – COLLECTIVE ACTION FOR FEDERAL MINIMUM WAGE VIOLATIONS
                     (80/20 VIOLATION DURING DINNER SHIFTS)

         201.   Plaintiff hereby re-alleges and re-avers Paragraphs 1 through 66 as though set forth

fully herein.

         202.   Plaintiff and all other similarly situated servers are/were entitled to be paid full

federal minimum wage for certain hours worked during their employment with Defendants.

         203.   Plaintiff seeks recovery of federal minimum wages under 29 U.S.C. § 216(b) for

herself and the following collective for Defendants’ failure to pay federally mandated minimum

wages:

                All restaurant servers who worked for Defendants in Orange
                Park, Florida during the three (3) years preceding this lawsuit
                who in one or more workweeks were required to spend more
                than 20% of their dinner shift performing “non-tipped” duties
                and side work and did not receive the full applicable minimum
                wage for this work.

         204.   Defendants willfully failed to pay Plaintiff and the putative collective members the

full federal minimum wage for one or more weeks of work.

         205.   As a direct and proximate result of Defendants’ deliberate underpayment of wages,

Plaintiff and the collective members have been damaged in the loss of minimum wages for one or

more weeks of work during their employment with Defendants.

         206.   Defendants’ willful and/or intentional violations of entitle Plaintiff and the putative

collective members to an additional amount of liquidated, or double, damages.

         207.   As a result of the violations alleged herein, Plaintiff was required to retain the

undersigned counsel and is therefore entitled to recover reasonable attorney’s fees and costs.




                                                  36
Case 3:22-cv-00205-MMH-PDB Document 1 Filed 02/22/22 Page 37 of 47 PageID 37




        WHEREFORE, Plaintiff, MADISON SPARKS, respectfully requests that this Honorable

Court enter judgment in her favor and against Defendants, KYODAI SUSHI ROCK CAFÉ, INC.

TAE N. OH and KYUNG EUN OH, and award Plaintiff, and all others similarly situated: (a)

unliquidated minimum wages; (b) an equal amount of liquidated damages; (c) all reasonable

attorney’s fees and litigation costs as permitted under the FLSA; and any and all such further relief

as the Court deems just and reasonable under the circumstances.

                          COUNT XII – FED. R. CIV. P. 23 CLASS ACTION
                          FOR FLORIDA MINIMUM WAGE VIOLATIONS
                               (ARISING FROM UNPAID LABOR)

        208.    Plaintiff hereby re-alleges and re-avers Paragraphs 1 through 66 as though set forth

fully herein.

        209.    Plaintiff and all other similarly situated servers are/were entitled to be paid full

Florida minimum wage for each hour worked during their employment with Defendants.

        210.    Plaintiff seeks recovery of Florida minimum wages under Fed. R. Civ. P. 23 for

herself and the following Unpaid Labor Class because of Defendants’ failure to pay Florida’s

constitutionally mandated minimum wages:

                All restaurant servers who worked for Defendants in Orange
                Park, Florida during the five (5) years preceding this lawsuit
                who in one or more workweeks were required to work without
                compensation for between 30-minutes and 1-hour during any
                shift.

        211.    Defendants refused to compensate Plaintiff and all other servers for approximately

30-minutes to 1-hour of each work-shift. This constitutes unpaid labor which was otherwise

compensable and which was unlawfully withheld from Plaintiff and other similarly situated servers

during the course of the previous five (5) years.

        212.    Defendants failed to maintain any time records whatsoever during all time periods

relevant hereto.


                                                    37
Case 3:22-cv-00205-MMH-PDB Document 1 Filed 02/22/22 Page 38 of 47 PageID 38




         213.   Plaintiff and the putative Unpaid Labor Class performed unpaid work for

Defendants during the previous five (5) years that was more than de minimus.

         214.   Because Plaintiff and all other similarly situated employees were forced to work

without compensation during each work shift, Defendants are not permitted to take the applicable

tip credit for this work and committed state minimum wage violations.

                               RULE 23 CLASS ALLEGATIONS

         215.   Plaintiff brings this FMWA claim as a class action pursuant to Rule 23 of the

Federal Rules of Civil Procedure on behalf of all restaurant servers who worked for Defendants in

Orange Park, Florida during the five (5) years preceding this lawsuit who in one or more

workweeks were required to work without compensation for 30-minutes to 1-hour during any work

shift.

         216.   The putative Unpaid Labor Class members are treated equally and similarly by

Defendants, in that they were denied full and proper Florida minimum wages based upon the

Defendants’ class-wide requirement for servers to without compensation for 30-minutes to 1-hour

per shift.

         217.   Numerosity: Defendants employed at least 50 restaurant servers in Orange Park,

Florida during the past five (5) years who were not paid Florida minimum wage for 30-minutes to

1-hour per shift because Defendants required these employees to work off-the-clock without

compensation. Given Defendants’ size and the systematic nature of its failure to comply with

Florida law, the members of the Class are so numerous that joinder of all members is impractical.

         218.   Plaintiff and the Unpaid Labor Class members were subject to the same

employment policies, including the unpaid labor policy.




                                               38
Case 3:22-cv-00205-MMH-PDB Document 1 Filed 02/22/22 Page 39 of 47 PageID 39




       219.    Commonality: Common questions of law and fact exist as to all members of the

Unpaid Labor Class and predominate over any questions solely affecting any individual member

of the Unpaid Labor Class, including Plaintiff. Such questions common to the Unpaid Labor Class

include, but are not limited to, the following:

               (a) Whether Plaintiff and the Unpaid Labor Class were “employees” of

                   Defendants;

               (b) Whether Plaintiff and the Unpaid Labor Class’s hours were properly recorded;

               (c) Whether Defendants violated the Florida minimum wage rights of Plaintiff and

                   the Unpaid Labor Class under the Florida Minimum Wage Act and Florida

                   Constitution by requiring 30-minutes to 1-hour of unpaid labor during work

                   shifts;

               (d) Whether Defendants willfully or intentionally refused to pay Plaintiff and the

                   Unpaid Labor Class Florida minimum wages;

               (e) Whether Defendants knew or should have known of the Florida minimum wage

                   requirements and either intentionally avoided or recklessly failed to investigate

                   proper time-keeping and payroll practices; and

               (f) The nature, extent, and measure of damages suffered by the Plaintiff and the

                   Unpaid Labor Class based upon Defendants’ conduct.

       220.    Typicality: Plaintiff’s claims are typical of the claims of the members of the Unpaid

Labor Class. Plaintiff’s claims arise from the Defendants’ company-wide off-the-clock policy

which drove their wages below the applicable Florida minimum wage.

       221.    Adequacy: Plaintiff will fairly and adequately protect the interests of the Unpaid

Labor Class. Plaintiff has no interest that might conflict with the interests of the Unpaid Labor




                                                  39
Case 3:22-cv-00205-MMH-PDB Document 1 Filed 02/22/22 Page 40 of 47 PageID 40




Class. Plaintiff is interested in pursuing her claims against Defendants vigorously and has retained

counsel competent and experienced in class and employment litigation.

       222.    Class action treatment is superior to the alternatives for the fair and efficient

adjudication of the controversy alleged herein. Such treatment will permit a large number of

similarly situated persons to prosecute their common claims in a single forum simultaneously,

efficiently, and without the duplication of effort and expense that numerous individual actions

would entail. No difficulties are likely to be encountered in the management of this class action

that would preclude its maintenance as a class action, and no superior alternative exists for the fair

and efficient adjudication of this controversy.

       223.    Defendants has acted on grounds generally applicable to the Unpaid Labor Class,

thereby making relief appropriate with respect to the Unpaid Labor Class as a whole. Prosecution

of separate actions by individual members of the Unpaid Labor Class would create the risk of

inconsistent or varying adjudications with respect to the individual members of the Unpaid Labor

Class that would establish incompatible standards of conduct for Defendants.

       224.    Without a class action, Defendants will likely continue to retain the benefit of their

wrongdoing and will continue a course of conduct that will result in further damages to Plaintiff

and the Unpaid Labor Class.

       225.    Plaintiff and the Unpaid Labor Class members performed the same job duties, as

restaurant servers, and were paid in an identical manner by Defendants based on Defendants’

failure to pay servers for between 30-minutes and 1-hour of work during shifts. This caused

restaurant servers’ applicable wages to fall below the state minimum wage during various

workweeks within the applicable statute of limitations.




                                                  40
Case 3:22-cv-00205-MMH-PDB Document 1 Filed 02/22/22 Page 41 of 47 PageID 41




       226.   Defendants were aware of the requirements of the FMWA and Florida

Constitution’s Minimum Wage Amendment, and the pertinent regulations thereto, yet acted

willfully in failing to pay Plaintiff and the Unpaid Labor Class members in accordance with the

law.

       227.   The precise size and identity of the class should be ascertainable from the business

records, tax records, and/or employee or personnel records of Defendants; however, Plaintiff

estimates that the total number of putative Unpaid Labor Class members exceeds 50 restaurant

servers.

       228.   This action is intended to include each and every restaurant server who worked for

Defendants in Orange Park, Florida, during the past five (5) years who was required to work off-

the-clock, without compensation.

       229.   During all material times hereto, Plaintiff and all Unpaid Labor Class members

were non-exempt server employees of Defendants.

       230.   Plaintiff and the Unpaid Labor Class members performed work as restaurant servers

which was an integral to Defendants’ business operations.

       231.   Defendants violated the terms of the FMWA and Florida Constitution’s provision

on minimum wages by not paying Plaintiff and the putative Unpaid Labor Class members at least

Florida’s minimum wage for some hours worked.

       232.   In 2017, the Florida minimum wage was $8.10 per hour.

       233.   In 2018, the Florida minimum wage was $8.25.

       234.   In 2019, the Florida minimum wage was $8.46.

       235.   In 2020, the Florida minimum wage was $8.56.




                                               41
Case 3:22-cv-00205-MMH-PDB Document 1 Filed 02/22/22 Page 42 of 47 PageID 42




         236.   From January 1, 2021 until September 29, 2021, the Florida minimum wage as

$8.65.

         237.   Beginning on September 30, 2021, the Florida minimum wage was $10.00 per hour.

         238.   During their employment, Plaintiff or one or more of the Unpaid Labor Class

members complained about the illegal practices above and Defendants took no action to stop the

illegal practices.

         239.   The additional persons who may become Plaintiffs in this action are servers who

were required to work without compensation for 30-minutes to 1-hour during any work shift within

the previous five (5) years.

         240.   Plaintiff has complied with pre-suit notice, and all other conditions precedent to

this action have been performed, or waived, by sending Defendants a Florida minimum wage

demand letter before this claim was filed.

         241.   More than fifteen (15) calendar days have passed since Defendants received the

Florida minimum wage demand letter and no payment has been tendered by Defendants to

compensate Plaintiff and the putative Unpaid Labor Class their Florida minimum wages.

            242.        The relief sought is common to the entire class including, inter alia:

                (a) Payment by the Defendants of actual damages caused by their failure to pay

                     minimum wages pursuant to the Florida Constitution and Florida Minimum

                     Wage Act;

                (b) Payment by the Defendants of liquidated damages caused by their failure to pay

                     minimum wages pursuant to the Florida Constitution and Florida Minimum

                     Wage Act as a result of Defendants’ intentional and/or willful violations;




                                                  42
Case 3:22-cv-00205-MMH-PDB Document 1 Filed 02/22/22 Page 43 of 47 PageID 43




                (c) Payment by the Defendants of the costs and expenses of this action, including

                   attorney’s fees of Plaintiff’s counsel.

        243.    As a direct and proximate result of Defendants’ deliberate underpayment of wages,

Plaintiff and the Unpaid Labor Class members have been damaged in the loss of Florida minimum

wages for one or more weeks of work during the employment with Defendants.

        244.    Defendants’ willful and/or intentional violations state law entitle Plaintiff and the

putative Unpaid Labor Class members to an additional amount of liquidated, or double, damages.

        245.    As a result of the violations alleged herein, Plaintiff was required to retain the

undersigned counsel and is therefore entitled to recover reasonable attorney’s fees and costs.

        WHEREFORE, Plaintiff, MADISON SPARKS, respectfully requests that this Honorable

Court enter judgment in her favor and against Defendants, KYODAI SUSHI ROCK CAFÉ, INC.

TAE N. OH and KYUNG EUN OH, and award Plaintiff, and all others similarly situated: (a)

unliquidated Florida minimum wages; (b) an equal amount of liquidated damages; (c) all

reasonable attorney’s fees and litigation costs permitted under the FMWA and Fla. Stat. 448.08;

and any and all such further relief as the Court deems just and reasonable under the circumstances.

    COUNT VIII – COLLECTIVE ACTION FOR FEDERAL MINIMUM WAGE VIOLATIONS
                         (ARISING FROM UNPAID LABOR)

        246.    Plaintiff hereby re-alleges and re-avers Paragraphs 1 through 66 as though set forth

fully herein.

        247.    Plaintiff and all other similarly situated servers are/were entitled to be paid full

federal minimum wage for all hours worked during their employment with Defendants.

        248.    Plaintiff seeks recovery of federal minimum wages under 29 U.S.C. § 216(b) for

herself and the following collective because of Defendants’ failure to pay federally mandated

minimum wages:



                                                 43
Case 3:22-cv-00205-MMH-PDB Document 1 Filed 02/22/22 Page 44 of 47 PageID 44




                All restaurant servers who worked for Defendants in Orange
                Park, Florida during the three (3) years preceding this lawsuit
                who in one or more workweeks were required to work without
                compensation for between 30-minutes and 1-hour during any
                shift.

        249.    Defendants refused to compensate Plaintiff and all other servers for approximately

30-minutes to 1-hour of work during each shift. This constitutes unpaid, off-the-clock labor which

was otherwise compensable and which was unlawfully withheld from Plaintiff and other similarly

situated servers during the course of the previous three (3) years.

        250.    The uncompensated 30-minutes to 1-hour of work performed by Plaintiff and

similarly situated servers was more than de minimis.

        251.    Because Plaintiff and all other similarly situated employees were forced to work

without compensation for 30-minutes to 1-hour, Defendants are not permitted to take the

applicable tip credit.

        252.    As a direct and proximate result of Defendants’ deliberate underpayment of wages,

Plaintiff and the collective members have been damaged in the loss of minimum wages for one or

more weeks of work during the previous three (3) years.

        253.    Defendants’ willful and/or intentional violations of entitle Plaintiff and the putative

collective members to an additional amount of liquidated, or double, damages.

        254.    As a result of the violations alleged herein, Plaintiff was required to retain the

undersigned counsel and is therefore entitled to recover reasonable attorney’s fees and costs.

        WHEREFORE, Plaintiff, MADISON SPARKS, respectfully requests that this Honorable

Court enter judgment in her favor and against Defendants, KYODAI SUSHI ROCK CAFÉ, INC.

TAE N. OH and KYUNG EUN OH, and award Plaintiff, and all others similarly situated: (a)

unliquidated federal minimum wages; (b) an equal amount of liquidated damages; (c) all




                                                  44
Case 3:22-cv-00205-MMH-PDB Document 1 Filed 02/22/22 Page 45 of 47 PageID 45




reasonable attorney’s fees and litigation costs permitted under the FLSA; and any and all such

further relief as the Court deems just and reasonable under the circumstances.

    COUNT IX – COLLECTIVE ACTION FOR FEDERAL OVERTIME WAGE VIOLATIONS

        255.    Plaintiff hereby re-alleges and re-avers Paragraphs 1 through 66 as though set forth

fully herein.

        256.    In one or more workweeks during the relevant time period, Plaintiff and all other

similarly situated employees were entitled to be paid overtime wages for certain hours work

performed in excess of forty (40) in a workweek.

        257.    Defendants failed to maintain time records during Plaintiff's employment period

and willfully or recklessly failed to pay Plaintiff overtime wages, even when they were expressly

aware that she worked over forty (40) hours in a workweek.

        258.    In one or more workweeks during the relevant time period, Defendants required

Plaintiff and all other servers to work without pay for 30-minutes to 1-hour.

        259.    Defendants either paid Plaintiff her regular hourly rate for her work in excess of

forty (40) hours per week (instead of her applicable overtime wage rate) OR on certain occasions,

paid her nothing at all.

        260.    Defendants willfully failed to pay Plaintiff and the putative collective members

certain federal overtime wages in one or more workweeks during the relevant time period.

        261.    As a direct and proximate result of Defendants’ deliberate underpayment of wages,

Plaintiff and the collective members have been deprived overtime wages for one or more weeks

of work during the previous three (3) years.

        262.    Defendants’ willful and/or intentional violations of entitle Plaintiff and the putative

collective members to an additional amount of liquidated, or double, damages.




                                                  45
Case 3:22-cv-00205-MMH-PDB Document 1 Filed 02/22/22 Page 46 of 47 PageID 46




       263.    As a result of the violations alleged herein, Plaintiff was required to retain the

undersigned counsel and is therefore entitled to recover reasonable attorney’s fees and costs.

       WHEREFORE, Plaintiff, MADISON SPARKS, respectfully requests that this Honorable

Court enter judgment in her favor and against Defendants, KYODAI SUSHI ROCK CAFÉ, INC.

TAE N. OH and KYUNG EUN OH, and award Plaintiff, and all others similarly situated: (a)

unliquidated federal overtime wages; (b) an equal amount of liquidated damages; (c) all reasonable

attorney’s fees and litigation costs permitted under the FLSA; and any and all such further relief

as the Court deems just and reasonable under the circumstances.

                                DEMAND FOR JURY TRIAL

   Plaintiff, MADISON SPARKS, requests and demands a trial by jury on all appropriate claims.

       Date: February 22, 2022
                                                     Respectfully Submitted,
                                                     USA EMPLOYMENT LAWYERS-
                                                     JORDAN RICHARDS, PLLC
                                                     1800 SE 10th Ave, Suite 205
                                                     Fort Lauderdale, Florida 33316
                                                     Ph: (954) 871-0050
                                                     Counsel for Plaintiff
                                                     By: /s/ Jordan Richards
                                                     JORDAN RICHARDS, ESQUIRE
                                                     Florida Bar No. 108372
                                                     JAKE BLUMSTEIN, ESQUIRE
                                                     Florida Bar No. 1017746
                                                     Jordan@jordanrichardspllc.com
                                                     Jake@jordanrichardspllc.com

                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that the foregoing document was filed via CM/ECF on February

22, 2022.

                                                     By: /s/ Jordan Richards
                                                     JORDAN RICHARDS, ESQUIRE
                                                     Florida Bar No. 108372


                                                46
Case 3:22-cv-00205-MMH-PDB Document 1 Filed 02/22/22 Page 47 of 47 PageID 47




                               SERVICE LIST




                                     47
